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                            Exhibit 2
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                                         #:1005


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  6                              UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
  7
       TESSIBLE “SKYLER” FOSTER,
  8                                                      Case No.: 2:23-cv-07441-AB-PVC
       MARIE SCOTT, and KRISTA
       BAUMBACH,
  9
                                                          DECLARATION OF
                                 Plaintiffs,              ANDREA R. DUDINSKY OF KROLL
 10
                                                          SETTLEMENT ADMINISTRATION LLC
                    vs.                                   IN CONNECTION WITH FINAL
 11
                                                          APPROVAL OF SETTLEMENT
       800-FLOWERS, INC.,
 12
                                                         Date: January 31, 2025
                                 Defendant.
 13                                                      Time: 1:30 PM
                                                         The Hon. André Birotte Jr.
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       DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
       ADMINISTRATION LLC IN CONNECTION WITH FINAL            -1-            CASE NO. 2:23-CV-07441-AB-PVC
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  1   I, Andrea R. Dudinsky, declare as follows:
  2                                              INTRODUCTION
  3             1.      I am a Director of Kroll Settlement Administration LLC (“Kroll”), 1 the Settlement
  4   Administrator appointed in the Action, whose principal office is located at One World Trade
  5   Center, 285 Fulton Street, 31st Floor, New York, NY 10007. I am over 21 years of age and am
  6   authorized to make this declaration on behalf of Kroll and myself. The following statements are
  7   based on my personal knowledge and information provided by other experienced Kroll employees
  8   working under my general supervision. This declaration is being filed in connection with the
  9   Motion for Final Approval of the Settlement.
 10             2.      Kroll has extensive experience in class action matters, having provided services in
 11   class action settlements involving antitrust, securities fraud, labor and employment, consumer, and
 12   government enforcement matters. Kroll has provided notification and claims administration
 13   services in more than 3,000 cases.
 14                                               BACKGROUND
 15             3.      Kroll was appointed as the Settlement Administrator to provide notification services
 16   in connection with the Settlement Agreement entered in this Action. Kroll’s duties in connection
 17   with the Settlement have and will include: (a) preparing and sending notices in connection with the
 18   Class Action Fairness Act; (b) receiving and analyzing the Class List from Defendant; (c) creating
 19   a Settlement Website; (d) establishing a post office box for the receipt of mail; (e) preparing and
 20   sending Email Notice; (f) preparing and sending the Post Card Notice via first-class mail;
 21   (g) receiving and processing mail from the United States Postal Service (“USPS”) with forwarding
 22   addresses; (h) receiving and processing undeliverable mail, without a forwarding address, from the
 23   USPS; (i) receiving and processing Settlement Share payment election change forms; (j) receiving
 24   and processing requests for exclusion; and (k) such other tasks as counsel for the Parties or the
 25   Court request Kroll to perform.
 26

 27   1
       Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
 28   Settlement Agreement entered into in this Action.

          DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
          ADMINISTRATION LLC IN CONNECTION WITH FINAL             -1-             CASE NO. 2:23-CV-07441-AB-PVC
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  1                                         NOTICE PROGRAM
  2   The CAFA Notice
  3          4.      As noted above, on behalf of the Defendant, Kroll provided notice of the proposed
  4   Settlement pursuant to the Class Action Fairness Act, 28 U.S.C. §1715(b), the CAFA Notice. On
  5   September 6, 2024, Kroll sent the CAFA Notice to the Attorney General of the United States and
  6   the California Attorney General, a true and correct copy of which is attached hereto as Exhibit A,
  7   containing the documents required via first-class certified mail.
  8   Data and Case Setup
  9          5.      On October 4, 2024, Kroll designated a post office box with the mailing address
 10   Celebrations Passport Autorenewal Class Action, c/o Kroll Settlement Administration LLC, P.O.
 11   Box 225391, New York, NY 10150-5391, in order to receive requests for exclusion and
 12   correspondence from Settlement Class Members.
 13          6.      On October 7, 2024, Kroll received one (1) data file from Defense Counsel. The
 14   file contained 112,356 records with first name, last name, email address, and address fields for
 15   Settlement Class Members. Kroll undertook several steps to compile the eventual Class List for the
 16   email and mailing of notices. After cleaning and deduplicating the Class List, Kroll determined that
 17   there were a total of 111,305 unique records.
 18          7.      On October 7, 2024, Kroll created a dedicated Settlement Website at the URL
 19   www.carlpsettlement.com. The Settlement Website “went live” on October 23, 2024, and contains
 20   a summary of the Settlement, important dates and deadlines, contact information for the Settlement
 21   Administrator, answers to frequently asked questions, downloadable copies of relevant documents,
 22   including the Settlement Agreement, the long-form Class Notice, the Motion for Preliminary
 23   Approval, the Preliminary Approval Order, the motion for Attorneys’ Fee Award and Service
 24   Award, and allowed Settlement Class Members an opportunity to make an online request to opt-
 25   out of the Settlement, request that a Settlement Share be paid by paper check or electronic transfer,
 26   or to register a change of address.
 27

 28

       DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
       ADMINISTRATION LLC IN CONNECTION WITH FINAL              -2-              CASE NO. 2:23-CV-07441-AB-PVC
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  1   The Notice Program
  2             8.      On October 23, 2024, Kroll caused the Email Notice to be sent to the 112,356 email
  3   addresses on file for Settlement Class Members, which included multiple email addresses for some
  4   Settlement Class Members. A true and correct copy of a complete exemplar Email Notice
  5   (including the subject line) is attached hereto as Exhibit B. Of the 112,356 emails attempted for
  6   delivery, 26,445 emails were rejected/bounced back as undeliverable. Of these, there were 25,907
  7   Settlement Class Members for whom all Email Notices sent were rejected/bounced back as
  8   undeliverable.
  9             9.      The Post Card Notice was mailed to the physical mailing address on record for all
 10   Settlement Class Members for whom all Email Notices sent were rejected/bounced back as
 11   undeliverable and for whom a physical mailing address was available. On November 12, 2024,
 12   Kroll caused 25,858 Post Card Notices to be mailed via first-class mail. 2 In an effort to ensure that
 13   Post Card Notices would be deliverable to Settlement Class Members, Kroll ran the list of
 14   Settlement Class Members receiving a Post Card Notice through the USPS’s National Change of
 15   Address (“NCOA”) database and updated the Class List with address changes received from the
 16   NCOA. A true and correct copy of the Post Card Notice, as well as the long-form Class Notice, is
 17   attached hereto as Exhibits C and D.
 18                                       NOTICE PROGRAM REACH
 19             10.     As of January 13, 2025, 141 Post Card Notices were returned by the USPS with a
 20   forwarding address. Of those, 139 Post Card Notices were automatically re-mailed to the updated
 21   addresses provided by the USPS. The remaining two (2) Post Card Notices were re-mailed by Kroll
 22   to the updated address provided by the USPS.
 23             11.     As of January 13, 2025, 2,061 Post Card Notices were returned by the USPS as
 24   undeliverable as addressed, without a forwarding address. Kroll ran 1,980 3 undeliverable records
 25
      2
       A physical address was unavailable for forty-nine (49) Settlement Class Members for whom all
 26   Email Notices sent were undeliverable.
      3
 27     The remaining eighty-one (81) undeliverable Post Card Notices received to date were received
      after the advanced address search was run and therefore those records were not included in the
 28                                                                                                  (Cont’d)

          DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
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  1   through an advanced address search. The advanced address search produced 1,284 updated
  2   addresses. Kroll has re-mailed Post Card Notices to the 1,284 updated addresses obtained from the
  3   advanced address search. Of the 1,284 re-mailed Post Card Notices, none have been returned as
  4   undeliverable a second time.
  5             12.     Based on the foregoing, following all Post Card Notice re-mailings, Kroll has reason
  6   to believe that notices likely reached 110,479 of the 111,305 persons to whom Class Notice was
  7   sent, which equates to a reach rate of the direct notice of approximately 99.3%. This reach rate is
  8   consistent with other court-approved, best-practicable notice programs and Federal Judicial Center
  9   Guidelines, which state that a notice plan that reaches 4 over 70% of targeted class members is
 10   considered a high percentage and the “norm” of a notice campaign. 5 The table below provides an
 11   overview of dissemination results for the Settlement Class Notice Program.
 12

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 24   search. Kroll will continue to trace and re-mail these and any additional undeliverable Post Card
      Notices received through the Final Approval Hearing date.
 25   4
       FED. JUD. CTR., Judges’ Class Action Notice and Claims Process Checklist and Plain Language
 26   Guide (2010), available at https://www.fjc.gov/sites/default/files/2012/NotCheck.pdf. The guide
      suggests that the minimum threshold for adequate notice is 70%.
 27   5
        Barbara Rothstein and Thomas Willging, Federal Judicial Center Managing Class Action
 28   Litigation: A Pocket Guide for Judges, at 27 (3d Ed. 2010).

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  1                          Direct Notice Program Dissemination & Reach
  2                                                                   Volume of          Percentage of
                                Description                              Class               Class
  3                                                                   Members              Members
       Settlement Class Members                                        111,305                 100.0%
  4
                                               Email Notice
  5    (+) Settlement Class Members sent Email Notice                  111,305                    100%
  6    (-) Settlement Class Members for whom all Email Notices         (25,907)                   23.3%
       returned as undeliverable
  7                                  Initial Post Card Notice Mailing
       (+) Total Unique Post Card Notices Mailed                        25,858                    23.2%
  8
       (-) Total Undeliverable Post Card Notices                        (2,061)                    1.9%
  9                              Supplemental Post Card Notice Mailing
 10    (+) Total Unique Post Card Notices Re-mailed                      1,284                     1.2%
       (-) Total Undeliverable (Re-Mailed) Post Card Notices              (0)                        0%
 11
                                       Direct Notice Program Reach
 12    (=) Likely Received Direct Notice                               110,479                    99.3%

 13
                SETTLEMENT SHARE PAYMENT ELECTION CHANGE ACTIVITY
 14
             13.     As of January 13, 2025, Kroll has received 675 Settlement Share payment election
 15
      change forms filed electronically through the Settlement Website.
 16
                                    EXCLUSIONS AND OBJECTIONS
 17
             14.     The Opt-Out and Objection Date was December 23, 2024.
 18
             15.     Kroll has received three (3) timely requests for exclusion. The Opt-Out List is
 19
      attached hereto as Exhibit E. Settlement Class Members were not instructed to submit their
 20
      objection to the Settlement Administrator, and none have been received by Kroll.
 21
                                     COSTS OF NOTICE PROGRAM
 22
             16.     The Court’s Preliminary Approval Order provides that in this matter provided that
 23
      Notice and Administration Costs shall not exceed $89,400, as set forth in the Settlement
 24
      Agreement. In the Declaration of Andrea R. Dudinsky of Kroll Settlement Administration LLC In
 25
      Connection with Preliminary Approval of Settlement, filed August 30, 2024 (the “Declaration”),
 26
      Kroll also stated that the estimated Notice and Administration Costs were approximately
 27
      $81,091.87, and that Kroll had agreed that Notice and Administration Costs would not exceed the
 28

       DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
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  1   amount of $89,400. See Decl. ¶17. Kroll elaborated therein, however, that the “Not to Exceed”
  2   amount was contingent upon certain assumptions, including the maximum number of Post Card
  3   Notices being mailed and the maximum number of Settlement Payment checks being mailed. See
  4   Decl. ¶17, fn2.
  5          17.        Following receipt of the rejected/bounced back emails from the Email Notice as
  6   described in paragraph 8 above, Kroll notified the counsel for the Parties that based on the
  7   undeliverable rate, both the number of Post Card Notices and the number of checks to be mailed
  8   were likely to exceed the originally estimated volumes, resulting in additional cost.
  9          18.        As of January 13, 2025, Kroll has billed $40,623.61 for services and fees incurred
 10   in the administration of this matter. Kroll estimates that it will bill an additional $76,935.20 to
 11   complete the administration of this Settlement. The current estimate is subject to change depending
 12   on factors such as Settlement administration scope changes not currently under consideration.
 13          19.        Kroll also estimated in its Declaration that the Settlement Share for each Settlement
 14   Class Member would be between $6.91 and $6.99 based on Kroll’s then estimated and not-to-
 15   exceed Notice and Administration Costs, as well as other factors set forth therein, including Kroll’s
 16   then-current understanding of the Settlement Class size. Based on Kroll’s updated understanding
 17   of the Settlement Class size as well as the current estimated Notice and Administration Costs set
 18   forth in paragraph 18 above, Kroll estimates that the Settlement Share for each Settlement Class
 19   Member will be $6.83.
 20                                             CERTIFICATION
 21          I declare under penalty of perjury that the above is true and correct to the best of my
 22   knowledge and that this declaration was executed on January 23, 2025 in Houston, Texas.
 23

 24

 25
                                                                  _________________________________
 26
                                                                  ANDREA R. DUDINSKY
 27

 28

       DECL. OF ANDREA R. DUDINSKY OF KROLL SETTLEMENT
       ADMINISTRATION LLC IN CONNECTION WITH FINAL                -6-              CASE NO. 2:23-CV-07441-AB-PVC
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                Exhibit A
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VIA U.S. MAIL

Date: September 6, 2024
To:   U.S. Attorney General
      Merrick B. Garland
      U.S. Department of Justice
      950 Pennsylvania Avenue NW
      Washington, D.C. 20530

Re:        CAFA Notice for the proposed Settlement in Paiz, et al. v. 800-Flowers, Inc.
           Case No. 2:23-cv-07441-AB-PVC, pending in the United States District Court for the
           Central District of California

       Pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715, Defendant
800-Flowers, Inc. (Defendant) hereby notifies you of the proposed settlement of the above-
captioned Action, currently pending in the United States District Court for the Central District of
California.

         Eight items must be provided to you in connection with any proposed class action
settlement pursuant to 28 U.S.C. § 1715(b). Each of these items is listed below and enclosed with
this letter.

           1.          28 U.S.C. § 1715(b)(l) – a copy of the complaint and any materials filed with the
                       complaint and any amended complaints.
                       The class action complaint, first amended complaint, and second amended
                       complaint are available as Exhibits A1, A2, and A3.

           2.          28 U.S.C. § 1715(b)(2) – notice of any scheduled judicial hearing in the class
                       action.
                       On August 30, 2024, Plaintiffs filed a Motion for Preliminary Approval of the
                       Settlement, and the date of the Preliminary Approval hearing has been noticed for
                       September 27, 2024, at 10:00 am PT. The Court has not yet scheduled the Final
                       Approval Hearing for this matter. The proposed Preliminary Approval Order is
                       available as Exhibit B.

           3.          28 U.S.C. § 1715(b)(3) – any proposed or final notification to class members.
                       Copies of the proposed Email Notice and Post Card Notice that will be provided to
                       Settlement Class Members are available as Exhibits C and D respectively. The
                       Class Notices describe, among other things, the Settlement Class Members’ right
                       to object or exclude themselves from the Settlement Class.

 Kroll Settlement Administration                www.kroll.com/business-services
 2000 Market Street, Suite 2700
 Philadelphia, PA 19103
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           4.          28 U.S.C. § 1715(b)(4) – any proposed or final class action settlement.
                       The Settlement Agreement is available as Exhibit E.

           5.          28 U.S.C. § 1715(b)(5) – any settlement or other agreement contemporaneously
                       made between class counsel and counsel for defendants.
                       There are no other settlements or other agreements between Class Counsel and
                       Defense Counsel beyond what is set forth in the Settlement Agreement.

           6.          28 U.S.C. § 1715(b)(6) – any final judgment or notice of dismissal.
                       The Court has not yet entered a final judgment or notice of dismissal. Accordingly,
                       no such document is presently available.

           7.          28 U.S.C. § 1715(b)(7) – (A) If feasible, the names of class members who reside in
                       each State and the estimated proportionate share of the claims of such members to
                       the entire settlement to that State’s appropriate State official; or (B) if the provision
                       of the information under subparagraph (A) is not feasible, a reasonable estimate of
                       the number of class members residing in each State and the estimated proportionate
                       share of the claims of such members to the entire settlement.
                       The definition of the Settlement Class in the proposed Settlement Agreement
                       means, all Persons who purchased Celebrations Passport in California on or after
                       September 7, 2019, through May 31, 2022, and who incurred at least one automatic
                       renewal charge for Celebrations Passport that was not fully refunded.
                       The complete list and counts by state of Settlement Class Members is not known.
                       We estimate that the majority of the Settlement Class resides in California.

           8.          28 U.S.C. § 1715(b)(8) – any written judicial opinion relating to the materials
                       described in 28 U.S.C. § 1715(b) subparagraphs (3) through (6).
                       There has been no written judicial opinion relating to the materials described in 28
                       U.S.C. § 1715(b) subparagraphs (3) through (6). Accordingly, no such document is
                       presently available.

       If you have any questions about this notice, the Action, or the enclosed materials please
contact the undersigned below.

                                                         Respectfully submitted,



                                                         Scott Baird
                                                         Senior Manager
                                                         Scott.Baird@kroll.com




 Kroll Settlement Administration                   www.kroll.com/business-services
 2000 Market Street, Suite 2700
 Philadelphia, PA 19103
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               Exhibit B
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To:
From:
Re: Class Action Settlement Notice – Paiz, et al. v. 800-Flowers, Inc., Case No. 2:23-cv-07441-
AB-PVC (C.D. Cal.)

Class Member ID: <<RefNum>>
<<FirstName>><<LastName>>


Our Records Indicate You Were Automatically Charged for an Annual Renewal of 800-
Flowers, Inc.’s Celebrations Passport For Which You Did Not Receive a Full Refund. You
Could Receive $6.91-$6.99 From A Class Action Settlement.

                        Questions? Call Class Counsel at 1-305-357-2107.

A Settlement has been reached in a class action lawsuit claiming that 800-Flowers, Inc.
automatically charged annual renewal fees for its Celebrations Passport customer loyalty program
in violation of California’s Automatic Renewal Law (“ARL”). The Defendant, 800-Flowers, Inc.,
vigorously denies it violated any law, but has agreed to the Settlement to avoid the uncertainties
and expenses associated with continuing litigation. The capitalized terms used herein are defined in
the Settlement Agreement.

Am I a Settlement Class Member? Our records indicate you are a Settlement Class Member.
Settlement Class Members are Persons who purchased Celebrations Passport in California on or
after September 7, 2019, through May 31, 2022, and who incurred at least one automatic renewal
charge for Celebrations Passport that was not fully refunded .

What Can I Get? The Parties believe there are approximately 112,000 email addresses reflecting
accounts in the Settlement Class. Defendant has agreed to pay one million two hundred thousand
dollars and 00/100 ($1,200,000.00) to a Common Fund. If the Court grants Final Approval to the
Settlement, you will automatically receive a Settlement Share paid by default to a Zelle account
linked to the email address the Settlement Class Member most recently used to renew Celebrations
Passport, or, if Zelle is unavailable, via an electronic MasterCard gift card sent to that same email
address, or you can opt to receive a paper check. The Parties have agreed to an Attorneys’ Fee
Award (up to $300,000) to Class Counsel and Service Awards of $2,500 to each of the three class
representatives, which will also be paid from the Common Fund. The estimated payment of $6.91-
$6.99 assumes that the Court will award an Attorneys’ Fee Award and Service Award in full, and
reimbursement of reasonable litigation costs.

How Do I Get a Payment? A Settlement Share of approximately $6.91-$6.99 shall be paid by
default to a Zelle account linked to the email address you most recently used to renew Celebrations
Passport, or, if Zelle is unavailable, via an electronic MasterCard gift card sent to that same email
address. If you would prefer to receive your Settlement Share by paper check instead of electronic
transfer, you may visit the Settlement Website at www.CARLPSettlement.com to request that a
paper check be sent to a mailing address in the United States which you designate. To access the
Settlement Website, you will need to input your name and the email address at which you received
this email.
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What are My Other Options? You may exclude yourself from the Settlement Class by submitting
an exclusion request on the Settlement Website no later than December 23, 2024 or mailing to the
Settlement Administrator a request for exclusion that is post-marked no later than December 23,
2024 and which contains your (1) full name; (2) current address, current telephone number, and
email address(es) which you used in connection with your Celebrations Passport membership; and
(3) a statement that indicates you desire to be excluded from the Settlement Class. Requests for
exclusion must be signed or electronically signed by you. If you exclude yourself, you will not
receive the Settlement Share indicated above, but you will keep any rights you may have to sue
Defendant over the legal issues in the lawsuit.

Alternatively, you and/or your lawyer have the right to object to the proposed Settlement or the
requested Attorneys’ Fee Award and Service Award, and/or appear before the Court. All
objections must be in writing, signed, and filed with the Court no later than December 23, 2024.
An objection must state your: (1) full name; (2) current address, current telephone number, and
current email address; (3) the name and contact information of any and all attorneys representing,
advising, or in any way assisting you in connection with the preparation or submission of the
objection or who may profit from the pursuit of the objection; (4) a statement indicating whether
you intend to appear at the Final Approval Hearing (either personally or through counsel who
files an appearance with the Court in accordance with the Local Rules); (5) a statement of all
objections to the Settlement and the legal and factual basis for each objection; (6) any and all
agreements that relate to the objection or the process of objecting—whether written or oral—
between you or your counsel and any other person or entity; (7) the number of times in which the
you, your counsel, and/or your counsel’s law firm have objected to a class action settlement
within the five (5) years preceding the date of the filed objection, the caption of each case in
which you, your counsel, and/or your counsel’s law firm has made such objection and a copy of
any orders related to or ruling upon the objection, your counsel’s or your counsel’s law firm’s
prior objections that were issued by the trial and appellate courts in each such case in which the
you, your counsel, and/or your counsel’s law firm have objected to a class action settlement
within the preceding five (5) years; and (8) your signature (an attorney’s signature is not
sufficient). Any Settlement Class Member who fails to timely file with the Court a written
objection shall not be permitted to object to the approval of the Settlement at the Final Approval
Hearing.

Further instructions about how to properly object to or exclude yourself from the Settlement are
available at www.CARLPSettlement.com

If you do not exclude yourself and the Settlement is finally approved, you will be bound by all of
the Court’s orders and judgments, and any claims you may have had against Defendant arising from
or relating to the automatic renewal of your Celebrations Passport membership will be fully and
finally resolved and released as set forth in the Settlement Agreement.

Who Represents Me? The Court has appointed Frank S. Hedin at Hedin LLP as Class Counsel to
represent the Settlement Class. His contact information is as follows:

                                          Frank S. Hedin
                                            Hedin LLP
                                 1535 Mission Street, 14th Floor
                                 San Francisco, California 94105
                                         (305) 357-2107
                                      fhedin@hedinllp.com
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You will not be charged for this attorney. If you want to be represented by your own attorney in this
case, you may hire one at your own expense.

When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval
Hearing at 1:30 p.m. on January 31, 2025 at the First Street U.S. Courthouse, Courtroom 7B, 350 West
First Street, Los Angeles, CA 90012. At the hearing, the Court will hear any objections concerning
the fairness, reasonableness, and adequacy of the proposed Settlement and whether the Court should
grant Final Approval of the Settlement, and will determine the reasonableness of the requested
Attorneys’ Fee Award (of up to $300,000) and Service Awards to the three class representatives (of
$2,500 each), and litigation costs. If approved, these awards will not reduce the estimated cash
payment.

Want More Information? For more information, including the full Class Notice, Settlement
Agreement, the Motion for Preliminary Approval, the Preliminary Approval Order, the motion for
Attorneys’ Fee Award and Service Award, and the Motion for Final Approval, or to submit a
name/address update form and/or a paper check request form, go to www.CARLPSettlement.com,
or contact the Settlement Administrator by writing to the address below, or contact Class Counsel.

Para una notificación en español, visitar www.CARLPSettlement.com



                  Celebrations Passport Autorenewal Class Action Settlement Administrator
                                  c/o Kroll Settlement Administration, LLC
                                              P.O. Box 225391
                                         New York, NY 10150-5391
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               Exhibit C
                                                           Filed 01/24/25 FU.S.
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                                                                                          30 P
                                                                                POSTAGE PAID
  P.O. Box 225391                                ID #:1020                       CITY, ST
  New York, NY 10150-5391
                                                                                        PERMIT NO. XXXX
                 ELECTRONIC SERVICE REQUESTED



    COURT AUTHORIZED NOTICE OF
    CLASS ACTION AND PROPOSED
           SETTLEMENT                                     <<Refnum Barcode>>
                                                Class Member ID: <<Refnum>>
   Our   Records    Indicate  You               Postal Service: Please do not mark or cover barcode
   Purchased Celebrations Passport
   From a 1-800 Flowers Brand                   <<FirstName>> <<LastName>>
   Between September 7, 2019, and               <<BusinessName>>
   May 31, 2022.                                <<Address>>
   You Could Receive An Automatic               <<Address2>>
   Payment From A Class Action                  <<City>>, <<ST>> <<Zip>>-<<zip4>>
   Settlement.

     Para una notificación en español,
    visitar www.CARLPSettlement.com
   A Settlement has been reached in Paiz, et al. v. 800-Flowers, Inc., Case             Website no later than December 23, 2024, or by mailing to the Settlement
e No.  2:23-cv-07441-AB-PVC (C.D. Cal.) claiming that
  2:23-cv-07441-AB-PVC                                       800-Flowers, Inc.
                                                         Document              Administrator
                                                                            62-4             a request
                                                                                          Filed          for exclusion that Page
                                                                                                     01/24/25               is post-marked
                                                                                                                                       18nooflater30than P
  automatically charged annual renewal fees for its Celebrations Passport December 23, 2024, and which contains your (1) full name; (2) current
                                                                      IDLaw
  customer loyalty program in violation of California’s Automatic Renewal  #:1021
                                                                               address, current telephone number, and email address(es) which you used in
   (“ARL”). Defendant, 800-Flowers, Inc., vigorously denies it violated any law,        connection with your Celebrations Passport membership; and (3) a statement
   but has agreed to the Settlement to avoid the uncertainties and expenses             that indicates your desire to be excluded from the Settlement Class. If you
   associated with continuing the case. The capitalized terms used herein are           exclude yourself, you will not receive the Settlement Share indicated above,
   defined in the Settlement Agreement.                                                 but you will keep any rights you may have to sue Defendant over the issues
   Am I a Settlement Class Member? Our records indicate you are a                       in this lawsuit.
   Settlement Class Member. Settlement Class Members are Persons who                    Alternatively, if you do not exclude yourself, you and/or your lawyer have the
   purchased Celebrations Passport in California on or after September 7, 2019,         right to object to the proposed Settlement or the requested Attorneys’ Fee
   through May 31, 2022, and who incurred at least one automatic renewal charge         Award and Service Award, and/or appear before the Court. All objections must
   for Celebrations Passport that was not fully refunded.                               be in writing, signed, and filed with the Court no later than December 23, 2024.
                                                                                        Further instructions about how to properly object to, or exclude yourself from,
   What Can I Get? The Parties believe there are approximately 112,000 email            the Settlement are available at www.CARLPSettlement.com. If you do not
   addresses reflecting accounts in the Settlement Class. Defendant has agreed          exclude yourself and the Court grants Final Approval of the Settlement, you
   to pay one million two hundred thousand dollars and 00/100 ($1,200,000.00)           will be bound by all of the Court’s orders and judgments, and any claims you
   to a Common Fund. If the Court grants Final Approval to the Settlement,              may have had against Defendant arising from or relating to the automatic
   you will automatically receive a Settlement Share paid by default to a Zelle         renewal of your Celebrations Passport membership will be fully and finally
   account linked to the email address the Settlement Class Member most                 resolved and released.
   recently used to renew Celebrations Passport, or, if Zelle is unavailable, via an
   electronic MasterCard gift card sent to that same email address, or you can opt to   Who Represents Me? The Court has appointed Frank S. Hedin at Hedin LLP
   receive a paper check. The Parties have agreed that an Attorneys’ Fee Award          as Class Counsel to represent the Settlement Class. You will not be charged
   (up to $300,000) to Class Counsel and Service Awards of $2,500 to each of the        for this attorney. His contact information is: Frank S. Hedin, 535 Mission
   three class representatives, Notice and Administration Costs, and reasonable         Street, 14th Floor, San Francisco, CA. His email and phone number are:
   litigation costs will also be paid from the Common Fund. The estimated               FHedin@hedinllp.com, (305) 357-2107. If you want to be represented by your
   payment of $6.91-6.99 assumes that the Court will award an Attorneys’ Fee            own attorney in this case, you may hire one at your own expense.
   Award and Service Awards and the reimbursement of reasonable litigation              When Will the Court Consider the Proposed Settlement? The Court will
   costs in full.                                                                       hold the Final Approval Hearing at 1:30 p.m. on January 31, 2025, at the First
   How Do I Get a Payment? You do not need to do anything to receive the                Street U.S. Courthouse, Courtroom 7B, 350 West First Street, Los Angeles,
   Settlement Share indicated above. If the Court grants Final Approval of the          CA 90012. At the hearing, the Court will hear any objections concerning the
   Settlement, a Settlement Share of approximately $6.91-$6.99 will be paid by          fairness, reasonableness, and adequacy of the proposed Settlement and
   default to a Zelle account linked to the email address the Settlement Class          whether the Court should grant Final Approval of the Settlement, and will
   Member most recently used to renew Celebrations Passport, or, if Zelle is            determine the reasonableness of the requested Attorneys’ Fee Award (of up
   unavailable, via an electronic MasterCard gift card sent to that same email          to $300,000) and Service Awards to the three class representatives (of $2,500
   address. If you would prefer to receive your Settlement Share by paper               each), and litigation costs. If approved, these awards will not reduce the
   check instead of electronic transfer, you may visit the Settlement Website at        estimated cash payment.
   www.CARLPSettlement.com to request that a paper check be sent to a                   Want More Information? For more information, including the full Class Notice,
   mailing address in the United States which you designate. To access the              Settlement Agreement, the Motion for Preliminary Approval, the Preliminary
   Settlement Website, you will need to input your name and the address at which        Approval Order, the motion for Attorneys’ Fee Award and Service Award, and
   you received this Post Card Notice.                                                  the Motion for Final Approval, or to submit a name/address update form, go
   What are My Other Options? You may exclude yourself from the                         to www.CARLPSettlement.com, or contact the Settlement Administrator by
   Settlement Class by submitting an exclusion request on the Settlement                writing to the address below.
e 2:23-cv-07441-AB-PVC   Document 62-4 Filed 01/24/25                     Page 19 of 30 P
                              ID #:1022
                                                                            Postage
                                                                            Required




                         Celebrations Passport Autorenewal Class Action
                         c/o Kroll Settlement Administration LLC
                         P.O. Box 225391
                         New York, NY 10150-5391
     <<Barcode>>
e 2:23-cv-07441-AB-PVC                         Document 62-4 Filed 01/24/25                     Page 20 of 30 P
    Class Member ID: <<Refnum>>                     ID #:1023

            CELEBRATIONS PASSPORT AUTORENEWAL CLASS ACTION SETTLEMENT
                             CHANGE OF ADDRESS FORM
   If you have an address different from where this postcard was mailed to, please write your correct
        address and email below and return this portion to the address provided on the other side.
           DO NOT USE THIS POSTCARD TO FILE AN EXCLUSION OR OBJECTION.


   Name: 					 ________                                                   							
         First Name				 M.I.                                              Last Name


   Street Address:									



   Street Address 2:										



   City: 						 State: _____ _____                                            Zip Code: ____ ____ ____ ____ ____



   Email Address: 						@			


   Contact Phone #: ( ____ ____ ____ ) ____ ____ ____ - ____ ____ ____ ____
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                                 ID #:1024




               Exhibit D
        Case 2:23-cv-07441-AB-PVC        Document 62-4 Filed 01/24/25 Page 22 of 30 Page
                                               ID #:1025
                   UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

IF YOU PURCHASED CELEBRATIONS PASSPORT IN CALIFORNIA
    AND INCURRED AT LEAST ONE AUTOMATIC RENEWAL
   CHARGE THAT WAS NOT FULLY REFUNDED, YOU MAY BE
          ENTITLED TO A PAYMENT FROM A CLASS ACTION
                         SETTLEMENT.
    A federal court authorized this Class Notice. You are not being sued. This is not a solicitation from a
                                                   lawyer.

        A Settlement has been reached in a class action lawsuit claiming that 800-Flowers, Inc. automatically
         charged annual renewal fees for its Celebrations Passport customer loyalty program in violation of
         California’s Automatic Renewal Law (“ARL”). The capitalized terms used herein are defined in the
         Settlement Agreement.

        You are included in the Settlement if you purchased Celebrations Passport in California on or after
         September 7, 2019, through May 31, 2022, and you incurred at least one automatic renewal charge for
         Celebrations Passport that was not fully refunded.

        Settlement Class Members will automatically be sent a cash payment of $6.91-$6.99 via Zelle, or, if Zelle
         is unavailable, via an electronic MasterCard gift card sent to that same email address.

        Please read this Class Notice carefully. Your legal rights are affected whether you act or don’t act.

                      YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT
                                      If you receive an Email Notice, your Settlement Shares shall be paid by
                                      default to a Zelle account linked to the email address the Settlement Class
                                      Member most recently used to renew Celebrations Passport, or, if Zelle is
                                      unavailable, via an electronic MasterCard gift card sent to that same email
                                      address. If you receive a notice by post card you will receive a paper
          DO NOTHING
                                      check sent to the address to which the post card was sent.
                                      –and–
                                      Regardless of whether you received a notice in the mail or by email, you
                                      will give up your rights to sue Defendant for the claims made in this case
                                      and resolved by the Settlement if you do nothing.

                                      If you exclude yourself from the Settlement, you will not receive a
    EXCLUDE YOURSELF                  Settlement Share, but you will retain any rights you currently have to sue
                                      Defendant for the claims made in this case and resolved by the Settlement.

              OBJECT                  Write to the Court explaining why you don’t like the Settlement.
    GO TO THE HEARING                 Ask to speak in Court about your opinion of the Settlement.

        These rights and options—and the deadlines to exercise them—are explained in this Class Notice.




                                    QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                          PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE
      Case 2:23-cv-07441-AB-PVC            Document 62-4 Filed 01/24/25             Page 23 of 30 Page
                                                ID #:1026
                                         BASIC INFORMATION
  1. Why was this notice issued?

A Court authorized this Class Notice because you have a right to know about a proposed Settlement of this class
action lawsuit and about all of your options, before the Court decides whether to give Final Approval to the
Settlement. This Class Notice explains the lawsuit, the Settlement, and your legal rights.

The United States District Court for the Central District of California is overseeing this case, known as Paiz, et
al. v. 800-Flowers, Inc., Case No. 2:23-cv-07441-AB-PVC (C.D. Cal.). Tessible “Skyler” Foster, Marie Scott,
and Krista Baumbach are called the Plaintiffs. The Defendant is 800-Flowers, Inc. The Plaintiffs and Defendant
are referred to collectively as the “Parties.”

  2. What is a class action?

In a class action, one or more people called class representatives (in this case, Tessible “Skyler” Foster, Marie
Scott, and Krista Baumbach) sue on behalf of a group or a “class” of people who have similar claims. In a class
action, the court resolves the issues for all members of the class, except for those who exclude themselves from
the class.

  3. What is this lawsuit about?

This lawsuit claims that Defendant automatically charged annual renewal fees for its Celebrations Passport
customer loyalty program in violation of California’s Automatic Renewal Law (“ARL”). Defendant denies that
it violated any law.

The Court has not determined who is right. Rather, the Parties have agreed to settle the lawsuit to avoid the
uncertainties and expenses associated with ongoing litigation.

  4. Why is there a Settlement?

The Court has not decided whether Plaintiffs or Defendant should win this case. Instead, both sides have agreed
to the Settlement to avoid the uncertainties and expenses associated with ongoing litigation, enabling Settlement
Class Members to receive compensation in a timely manner.

                            WHO’S INCLUDED IN THE SETTLEMENT?
  5. How do I know if I am in the Settlement Class?

The Court decided that everyone who fits this description is a member of the Settlement Class:

           All Persons who purchased Celebrations Passport in California from September 7, 2019, through
           May 31, 2022, and who incurred at least one automatic renewal charge for Celebrations Passport
           that was not fully refunded.

If you received a Class Notice in the mail or by email, the Settlement Administrator has identified you as being a
Settlement Class Member.



                                  QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                        PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE
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                                                ID #:1027

                                    THE SETTLEMENT BENEFITS
  6. What does the Settlement provide?

The Parties believe there are approximately 112,000 email addresses reflecting accounts in the Settlement Class.
Defendant has agreed to pay one million two hundred thousand dollars and 00/100 ($1,200,000.00) to a Common
Fund. If the Court grants Final Approval to the Settlement, you will automatically receive a Settlement Share
paid by default to a Zelle account linked to the email address the Settlement Class Member most recently used to
renew Celebrations Passport, or, if Zelle is unavailable, via an electronic MasterCard gift card sent to that same
email address, or you can opt to receive a paper check. The Parties have agreed to an Attorneys’ Fee Award (up
to $300,000) to Class Counsel and Service Awards of $2,500 to each of the three class representatives, and
reimbursement of reasonable litigation costs which will also be paid from the Common Fund. The estimated
payment of $6.91-$6.99 assumes that the Court will award an Attorneys’ Fee Award and Service Awards in full,
and reimbursement of reasonable litigation costs.


  7. When will I get my payment?

Settlement Shares will be paid after the Court grants Final Approval of the Settlement and/or after any timely-
filed appeals brought by timely-objecting Settlement Class Members have been resolved in favor of the
Settlement. The Final Approval Hearing for the Settlement is scheduled for January 31, 2025, at 1:30 p.m.
Settlement Class Members will receive a payment automatically by electronic transfer or paper check as discussed
in the answer to Question 8.

                                      HOW TO GET A PAYMENT
  8. How do I get a Settlement payment?

You do not need to do anything to receive a Settlement Share.

If you received an Email Notice, you shall be paid your Settlement Share by default to a Zelle account linked to
the email address you most recently used to renew Celebrations Passport, or, if Zelle is unavailable, via an
electronic MasterCard gift card sent to that same email address. If you would prefer to receive your Settlement
Share by paper check instead of electronic transfer, you may visit the Settlement Website at
www.CARLPSettlement.com to request that a paper check be sent to a mailing address in the United States which
you designate. To access the Settlement Website, you will need to input your name and the email address at
which you received Email Notice.

If you received a Post Card Notice in the mail, you will automatically receive a paper check which will be mailed
to the same address at which the Post Card Notice was sent. However, if your name and/or address changes
before Settlement Shares are issued, you should submit the form attached to your Post Card Notice with your
updated information or update your address on the Settlement Website, www.CARLPSettlement.com. If you
would instead like to receive your Settlement Share via electronic transfer, submit an electronic payment request
via the Settlement Website, www.CARLPSettlement.com.

All change of address requests, paper check requests, and electronic deposit requests must be submitted via the
Settlement Website, www.CARLPSettlement.com no later than ten (10) days prior to the Settlement
Administrator’s disbursement of Settlement Shares, which will be no earlier than April 14, 2025.
                                  QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                        PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE

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                               REMAINING IN THE SETTLEMENT CLASS
  9. What am I giving up if I stay in the Settlement Class?

If the Settlement becomes final, you will give up your right to sue Defendant and certain entities related to the
Defendant for the claims being resolved by this Settlement. The specific claims you are giving up against
Defendant are described in Section X of the Settlement Agreement. You will be “releasing” Defendant and
certain entities related to Defendant for claims arising from or relating to the automatic renewal of your
Celebrations Passport membership. Unless you exclude yourself (see Question 13), you are “releasing” these
claims against these entities, regardless of whether you receive a Settlement Share. The Settlement Agreement is
available through the “Court Documents” link on the Settlement Website.

The Settlement Agreement describes the Released Claims in greater detail, so read it carefully. If you have any
questions, you can talk to Class Counsel for free, or you can, of course, talk to your own lawyer if you have
questions about what this means.

   10. What happens if I do nothing at all?

If you do nothing, you won’t be able to start a lawsuit or be part of any other lawsuit against Defendant or other
related entities for the claims being resolved by this Settlement and released by the Settlement Agreement. If you
received an Email Notice, you will receive a Settlement Shares paid by default to a Zelle account linked to the
email address the Settlement Class Member most recently used to renew Celebrations Passport, or, if Zelle is
unavailable, via an electronic MasterCard gift card sent to that same email address. If you received a Post Card
Notice in the mail, you will receive a paper check mailed to the same address indicated in the Post Card Notice
(unless an updated address is submitted, see answer to Question 8 above).

                              THE ATTORNEYS REPRESENTING YOU
   11. Do I have an attorney in the case?

The following attorney represents the Settlement Class:

Frank S. Hedin
HEDIN LLP
535 Mission Street, 14th Floor
San Francisco, California 94105
(305) 357-2107
fhedin@hedinllp.com

He is called Class Counsel. Class Counsel believes, after conducting an extensive investigation, that the
Settlement is fair, reasonable, and in the best interests of the Settlement Class. You will not be charged for this
attorney. If you want to be represented by your own attorney in this case, you may hire one at your own expense.

   12. How will the attorneys be paid?

Subject to Court approval, Class Counsel will seek $300,000 for attorneys’ fees for investigating the facts,
litigating the case, and negotiating the Settlement in this matter, the reimbursement of reasonable litigation costs,
                                   QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                         PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE

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as well as $2,500 to each class representative (for a collective Service Award amount of up to $7,500) in
recognition of the class representatives’ assistance in helping to investigate, assert, and resolve the claims in this
case. The Court may award less than these amounts. Under the Settlement Agreement, any Attorneys’ Fee Award
to Class Counsel and Service Award to class representatives will be paid from the Common Fund.

                       EXCLUDING YOURSELF FROM THE SETTLEMENT
   13. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must mail or submit a request for exclusion on the Settlement
Website, www.CARLPSettlement.com. Your request for exclusion must include your: (1) full name; (2) current
address, current telephone number, and email address(es) which you used in connection with your Celebrations
Passport membership; and (3) a statement that indicates you desire to be excluded from the Settlement Class; and
(4) it must be signed (or electronically signed) by you.

Your request for exclusion must be submitted online or post-marked no later than December 23, 2024. Requests
for exclusion sent by mail should be sent to:

                   Celebrations Passport Autorenewal Class Action Settlement Administrator
                                   c/o Kroll Settlement Administration, LLC
                                               P.O. Box 225391
                                          New York, NY 10150-5391

  14. If I don’t exclude myself, can I sue Defendant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Defendant and certain related entities for the
Released Claims being resolved by this Settlement.

  15. If I exclude myself, can I receive a cash payment from this Settlement?

No. If you exclude yourself, you will not receive a cash payment from the Settlement.

                                  OBJECTING TO THE SETTLEMENT
   16. How do I object to the Settlement?

If you are a Settlement Class Member, you can ask the Court to deny approval of the Settlement (and/or object to
Class Counsel’s request for an Attorneys’ Fee Award or the class representatives’ requests for Service Awards)
by filing an objection. You cannot ask the Court to order a different settlement; the Court can only approve or
reject the Settlement. If the Court denies final approval of the Settlement, no Settlement Share payment will be
sent out and the lawsuit will continue. If that is what you want to happen, you must object.

Any objection to the proposed Settlement must be in writing, signed, and filed with the Court (or mailed to the
Clerk of the Court at the address below) and must identify the case name and number (Paiz, et al. v. 800-Flowers,
Inc., Case No. 2:23-cv-07441-AB-PVC) and a statement of all objections to the Settlement and the legal and
factual basis for each objection. The objection should include your (1) full name; (2) your current address, current
telephone number, and current email address; and (3) the name and contact information of any and all attorneys
representing, advising, or in any way assisting the objector in connection with the preparation or submission of
the objection or who may profit from the pursuit of the objection; (4) a statement indicating whether you intend
                                   QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                         PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE

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to appear at the Final Approval Hearing (either personally or through counsel who files an appearance with the
Court in accordance with the Local Rules); (5) a statement of all objections to the Settlement and the legal and
factual basis for each objection; (6) any and all agreements that relate to the objection or the process of objecting—
whether written or oral—between you or your counsel and any other person or entity; (7) the number of times in
which the you, your counsel, and/or your counsel’s law firm have objected to a class action settlement within the
five (5) years preceding the date of the filed objection, the caption of each case in which you, your counsel, and/or
your counsel’s law firm has made such objection and a copy of any orders related to or ruling upon the objection,
your counsel’s or your counsel’s law firm’s prior objections that were issued by the trial and appellate courts in
each such case in which the you, your counsel, and/or your counsel’s law firm have objected to a class action
settlement within the preceding five (5) years; and (8) your signature (an attorney’s signature is not sufficient).
Any Settlement Class Member who fails to timely file with the Court a written objection shall not be permitted
to object to the approval of the Settlement at the Final Approval Hearing.

Class Counsel will file with the Court and post on the Settlement Website, www.CARLPSettlement.com, its
motion for an Attorneys’ Fee Award and for Service Awards to the class representatives by December 2, 2024.

If you want to appear and speak at the Final Approval Hearing to object to the Settlement, with or without a
lawyer (explained below in answer to Question 20), you must say so in your objection letter or brief. You must
either file the objection with the Court no later than December 23, 2024, or mail the objection to the Court, at the
address below, post-marked no later than December 23, 2024.

                                                       Court
                   Paiz, et al. v. 800-Flowers, Inc., Case No. 2:23-cv-07441-AB-PVC
                   United States District Court for the Central District of California
                   Clerk of the Court
                   350 West First Street, Suite 4311
                   Los Angeles, CA 90012

   17. What’s the difference between objecting to and excluding myself from the Settlement?

Objecting simply means telling the Court that you do not like something about the Settlement. You can object
only if you stay in (i.e., do not exclude yourself from) the Settlement Class. Excluding yourself is telling the
Court that you do not want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer affects you, and you will not receive a Settlement Share.


                           THE COURT’S FINAL APPROVAL HEARING
   18. When and where will the Court decide whether to approve the Settlement?

The Court will hold the Final Approval Hearing at 1:30 p.m. on January 31, 2025, in Courtroom 7B, First Street
U.S. Courthouse, 350 West First Street, Los Angeles, CA 90012. The purpose of the hearing will be for the Court
to determine whether to approve the Settlement as fair, reasonable, adequate, and in the best interests of the Class;
to consider Class Counsel’s motion for an Attorneys’ Fee Award; and to consider the motion for Service Awards
to the class representatives.

At the Final Approval Hearing, the Court will be available to hear any objections and arguments concerning the
fairness of the Settlement and of the requested Attorneys’ Fee Award and Service Awards and reimbursement of
reasonable litigation costs.

                                   QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                         PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE

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The Final Approval Hearing may be postponed to a different date or time without notice, so it is a good idea to
check www.CARLPSettlement.com for information on any changes to the date and time of the hearing. If you
timely objected to the Settlement and advised the Court that you intend to appear and speak at the Final Approval
Hearing, you will receive notice of any change in the date of such Final Approval Hearing.

   19. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. However, you are welcome to attend the
hearing at your own expense. If you send an objection or comment, you do not have to come to Court to talk
about it. As long as you filed or mailed your written objection on time and it included everything listed in the
answer to Question 16, the Court will consider it. You may also hire another lawyer to attend, but that is not
required.

   20. May I speak at the hearing?

Yes. You may ask the Court for permission to speak at the Final Approval Hearing. To do so, you must
include in your letter or brief objecting to the Settlement a statement saying that it is your “Notice of Intent to
Appear in Paiz, et al. v. 800-Flowers, Inc., Case No. 2:23-cv-07441-AB-PVC.” It must include your name,
address, telephone number, and signature as well as the name and address of your lawyer, if one is appearing
for you. Your objection and notice of intent to appear must be filed with the Court no later than December 23,
2024 (or mailed to the Court at the address listed in Question 16) and post-marked no later than December 23,
2024.

                                   GETTING MORE INFORMATION
   21. Where do I get more information?

This Notice summarizes the proposed Settlement. For the precise terms and conditions of the Settlement, please
review the Settlement Agreement available at www.CARLPSettlement.com, by contacting Class Counsel at
Hedin LLP, 535 Mission Street, 14th Floor, San Francisco, California 94105; Telephone: (305) 357-2107, by
accessing the Court docket in this case, for a fee, through the Court’s Public Access to Court Electronic Records
(PACER) system at https://ecf.cacd.uscourts.gov, or by visiting the office of the Clerk of the Court for the United
States District Court for the Central District of California at 350 West First Street, Suite 4311, Los Angeles,
California 90012, between 9:00 a.m. and 4:00 p.m. PST, Monday through Friday, excluding Court holidays.
PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE ABOUT
THIS SETTLEMENT OR THE CLAIM PROCESS.




                                   QUESTIONS? VISIT WWW.CARLPSETTLEMENT.COM
                         PARA UNA NOTIFICACIÓN EN ESPAÑOL, LLAMAR O VISITAR NUESTRO WEBSITE

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                Exhibit E
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                                  ID #:1033




                               Exclusion List
                     Count     First Initial   Last Name
                       1            E            Wong
                       2            N            Meza
                       3            K            Steele
